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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR114 HEA
                                                )
ROBERT EBERHART,                                )
                                                )
       Defendant.                               )

                                           ORDER

       IT IS HEREBY ORDERED that the sentencing hearing previously set in this matter for

Tuesday, September 7, 2010, is reset to Monday, September 27, 2010, at 10:45 a.m.

       Dated this 7th day of September, 2010.




                                           ________________________________
                                              HENRY EDWARD AUTREY
                                            UNITED STATES DISTRICT JUDGE
